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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 15-60082-CIV-DIMITROULEAS/SNOW


   SECURITIES AND EXCHANGE
   COMMISSION,

                  Plaintiff,

                  vs.

   FREDERIC ELM f/k/a FREDERIC
   ELMALEH, et al.,

                  Defendants,

   and

   AMANDA ELM f/k/a AMANDA
   ELMALEH,

               Relief Defendant.
   ______________________________/


                                REPORT AND RECOMMENDATION
                  THIS CAUSE is before the Court on the Receiver's First Interim Application for

   Allowance and Payment of Fees and Expenses Incurred by the Receiver and Retained Counsel (ECF

   No. 102), which was referred to United States Magistrate Judge, Lurana S. Snow, for report and

   recommendation. The Defendants did not respond to the motion and it is ripe for consideration.

                  This was an action filed by the Securities and Exchange Commission (SEC) for
   temporary and permanent injunction against Defendant Frederic Elm and the corporate Defendants.

   On January 6, 2015, the Court appointed Grisel Alonso, Esq. to serve as receiver for the corporate

   Defendants. The Receivership Order provides, in pertinent part:

                  14. The Receiver, and any counsel whom the Receiver may select, are
                  entitled to reasonable compensation from the assets now held by or
                  in the possession or control of or may be received by ETIA and the
                  Elm Tree funds; said amount or amounts of compensation shall be
                  commensurate with their duties and obligations under the
                  circumstances, subject to approval of the Court. . . .

   (ECF No. 13 at 4-5)
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                  The Receiver now seeks an interim award of $165,668.75 for the services of herself

   and her staff attorneys, consisting of fees for 762.45 hours of work and $7,367.19 in expenses. The

   Receiver also requests $86,020.00 in attorneys' fees for her retained counsel, the law firm of Broad

   and Cassel, together with expenses incurred by counsel in the amount of $2,685.37. In support of

   her Application, the Receiver attached redacted billing records (ECF No. 102-1 - 102-4), but

   provided no information on the qualifications of the various timekeepers or their hourly rates. In

   response to the undersigned's Order to Supplement Motion, the Receiver has supplied that

   information.

                  The Receiver's Supplement (ECF No. 112) summarizes the qualifications of the

   Receiver herself and her staff at Michael Moecker and Associates, Inc. ("MMA"), and reflects that

   the Receiver's billing rate for this case is $295.00 per hour (discounted from her regular rate of

   $350.00 per hour), and the billing rates of the case administrator, financial analyst, case associate,

   case analyst and case assistants at MMA range from $50.00 per hour to $225.00 per hour. Id. at 4-5.

   The qualifications of the timekeepers at the law firm of Broad and Cassell also are summarized in

   the supplement, with billing rates of $125.00 to $325.00 per hour for 376.8 hours of work. Id. at 5-7.

                  The undersigned has reviewed the records of the timekeepers and MMA and at Broad

   and Cassell and is satisfied that the billing rates of the timekeepers and hours expended by them, as

   well as the claimed expenses, are reasonable.

                                             CONCLUSION
                  This Court having considered carefully the pleadings, arguments of counsel, and the

   applicable case law, it is hereby

                  RECOMMENDED that the Receiver's First Interim Application for Allowance and

   Payment of Fees and Expenses Incurred by the Receiver and Retained Counsel (ECF No. 102) be

   GRANTED, and that the Receiver be authorized to pay herself and MMA the total amount of

   $173,035.94 ($165,668.75 in fees + $7,367.19 in expenses) and to pay Broad and Cassell the total



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   amount of $88,705.37 ($86,020.00 in fees + $2,685.37 in expenses).

                  The parties will have 14 days from the date of being served with a copy of this Report

   and Recommendation within which to file written objections, if any, with The Honorable William

   P. Dimitrouleas, United States District Judge. Failure to file objections timely shall bar the parties

   from attacking on appeal factual findings contained herein. LoConte v. Dugger, 847 F.2d 745 (11th

   Cir. 1988), cert. denied, 488 U.S. 958 (1988); RTC v. Hallmark Builders, Inc., 996 F.2d 1144, 1149

   (11th Cir. 1993).

               DONE AND SUBMITTED at Fort Lauderdale, Florida, this 18th day of August, 2015.




   Copies to:
   All Counsel of Record




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